     Case 4:12-cv-03441-KOB Document 26 Filed 04/04/14 Page 1 of 4            FILED
                                                                     2014 Apr-04 PM 05:07
                                                                     U.S. DISTRICT COURT
                                                                         N.D. OF ALABAMA


                UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF ALABAMA
                      MIDDLE DIVISION


THE PRUDENTIAL INSURANCE    *
COMPANY OF AMERICA,         *
                            *
     PLAINTIFF,             *
                            *
v.                          *           4:12-CV-03441-KOB
                            *
NATHAN BEAN; E.B., A MINOR *
CHILD;EMILY TAYLOR,         *
ADMINISTRATOR OF THE ESTATE *
OF DORIS SIMMONS BEAN,      *
                            *
     DEFENDANTS.            *


                        MOTION TO WITHDRAW


     Comes now the undersigned, Trenton R. Garmon, Esq. and
does move this Honorable Court for an Order granting his
withdrawal from the above-referenced case. In
consideration of such the undersigned does assert the
following:

(1) Counsel was retained to represent Nathan Bean.

(2) Certain work was done and a file created as well as
maintain for said client.

(3) A bar complaint was filed against the undersigned by a
non-client and the undersigned fought the basis of the
allegations, turning down an offer for a public reprimand.

(4) Consequentially the undersigned was suspended from the
practice of law for 91 days.



                               Page 1 of 4
        Case 4:12-cv-03441-KOB Document 26 Filed 04/04/14 Page 2 of 4



(5) The Supreme Court of Alabama has affirmed the decision
with no opinion and denied the undersigned's application
for rehearing with no opinion, with Chief Justice Moore
recusing and Justice Parker dissenting.

(6) The effective date of the suspension is 04/07/2014 per
the Order of the Supreme Court which was provided via
electronic mail (03/25/2014) from the Office of General
Counsel.

(7) The undersigned is withdrawing from all of his cases to
be in compliance with Rule 26 of the Alabama Rules of
Disciplinary Procedure.

(8) The client has been notified and has retained different
counsel for the related state court case. He has been
recommended to obtain counsel for this Federal Court
action.

(9) Allowing for the withdrawal will, hopefully, not allow
an injustice or undue hardship to occur as the undersigned
has worked up and maintained a file on each of the cases
from which he is now withdrawing and will make said file
available to new counsel.

(10) It may be noted a Motion to Interplead Funds has been
filed and Official Check #020119 drawn on Keystone Bank for
$35,000 has been sent via Certified Mail to the Clerk of
Court for the United States District Court – Northern
District of Alabama.


     Wherefore, premises considered the undersigned does
request this Honorable Court:


  (I)       Grant him an order allowing for his withdrawal
            upon receipt of and the clerk’s confirming the
            depositing of the interpled funds.

            Done this the 04th day of April 2014.


                                  Page 2 of 4
 Case 4:12-cv-03441-KOB Document 26 Filed 04/04/14 Page 3 of 4




                                    Respectfully Submitted,
                                    s/ Trenton R. Garmon
                                    Trenton R. Garmon (GAR093)
                                    Attorney for Defendant
                                    255 South 8th Street
                                    Gadsden, Alabama 35901
                                    Telephone: 256-543-3401
                                    Facsimile: 205-588-0057
                                    trent@garmonlawfirm.com


                    CERTIFICATE OF SERVICE

     I hereby certify that I have served a copy of the
foregoing upon counsel for the Plaintiff by way of
electronic filing on and by way of direct email.

     Christopher C. Yearout, Esq.
     Lightfoot Franklin White, LLC
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     Birmingham, Alabama 35203
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     Attorney for Plaintiff Prudential

     Abbott Marie Jones
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     Candace B. Crenshaw
     Weathington, Moore, Weiskopf & Hill, PC
     P.O. Box 310
     Moody, Alabama 35004
     cbc@weathington-moore.com

     Done this the 04th day of April 2014.

                                         s/ Trenton R. Garmon


                           Page 3 of 4
     Case 4:12-cv-03441-KOB Document 26 Filed 04/04/14 Page 4 of 4



                UNITED STATES DISTRICT COURT
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OF DORIS SIMMONS BEAN,      *
                            *
     DEFENDANTS.            *


                          Proposed Order


    WHEREFORE premises considered the Motion to Withdraw
    filed by Trenton R. Garmon is hereby withdrawn and he
    is allowed to withdraw as counsel.



                                             _____________________
                                             FEDERAL COURT JUDGE




                               Page 4 of 4
